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                        UNITED STATES DISTRICT CO URT
                        SOUTHERN DISTRICT O F FLO RIDA

                         CASE NO .19-60O55-CR-UNGARO

 UNITED STATES O F AM ERICA ,

 VS.

 GEDEON JOSEPH,

       Defendant.


                                DETENTION QRDEM
       THIS M ATTER cam e beforethe Coud upon the Governm ent's m otionto detainthe

 defendant,Gedeon Joseph,priorto trialand untilthe conclusion thereof.Having received

 evidence and heard argum ent ofcounsel,the Coud hereby G RANTS the m otion and

 enters itsw ri
              ttenfindings offactand statem entofreasonsforthe detention in accordance

 withthe provisionsof18 U.S.C.j 3142(i).
 A.     INTRO DUCTION

       O n March 6,2019,the Coud held a hearing to determ ine whetherany condition or

 combination of conditions of release w ill reasonably assure the appearance of the

 defendant as required and the safety of any person and the com m unity. 18 U.S.C.

 j3142(f).Based uponthe IndictmentoftheGrandJury,seeUnitedStatesv.Hurtado,779
  F.2d 1467,1479 (11th Cir,1985),the Coud finds probable cause thatthe defendant,
 Gedeon Joseph,commi
                   tted an offense under(Title 18,United States Code) Section
  924(c).Thisfindinggivesrisetoarebuttablepresumptionthatnoconditionorcombination
  of conditions of release w illreasonably assure the appearance of the defendant as

  requiredandthe safetyofthecommunity.18U.S.C.j 3142(e).Assum ing,arnuendo,that
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 the defendant has com e forward w i
                                   th sufficient evidence to rebut the statutory

 presum ption,the presum ption 'srem ains in the case as an evidentiary finding m ilitating

 against release, to be weighled) along with other evidence.' United States v.
 Quadermaine,913 F.2d 910,916 (11th Cir.1990).
                                             ,United Statesv.Kinn,849 F.2d 485,
 488 (11th Cir.1988).Throughoutthis proceeding,the burdenofpersuasion is uponthe
 Governm entto establish by clearand convincing evidence thatthe defendantposes a

 dangertothe community,18 U.S.C.j 3142(9,and/orto establish by a preponderance of
 the evidence thathe poses a riskofflight.Q uaderm aine,913 F.2d at917. In determ ining

 whetherthe Governm enthas m etits burden by the requisite standard ofproof,this Coud

 musttake intoaccountthe factors enumerated in 18 U.S.C.5 3142(g).
 B.     FINDING S O F FACT

              The defendant,Gedeon Joseph, is charged with conspiracy to com m it

 HobbsActrobbery(Count1),HobbsActrobbery(Count2),andcarrying(morespecifically,
 brandishing)a firearm during and in relationto a crime ofviolence (Count3),in violation
 of18 U.S.C.jj 1951(a),924(c)(1)(A)(ii),and 2. Section 3142(g)expressly directsthe
 judicialofficertoconsiderthe natureandcircumstancesoftheoffensecharged,including,
 interalia,whetherthe offense is a crim e ofviolence ora crim e invofving a firearm . ln this

 m atter,the defendant is charged b0th with a crime of violencel and with a crim e that

 involves a firearm . 18 U.S.C.j 3142(g)(1).




         See In re Fleur,824 F.3d 1337,1340 (11th Cir.2016)(holding thatHobbs Act
 robberyqualifies as a ''crime ofviolence''underthe elementsoruse-of-force clause).
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              The Courtreceived credible evidence thatthe defendant,Gedeon Joseph,

 com m itted the offenses with w hich he has been charged. M ore specifically, the

 Governm entadopted the Affidavitattached to the Crim inalCom plaintas its case agent's

 testimony on directexamination. See Affidavit(attached to CriminalComplaint)(DE 1).
 The contentofthe Affidavitwas notm aterially im peached,contradicted,orrebutted,and

 the undersigned accepts the facts set forth therein as true for purposes of this bond

 determ ination. In pedinentpad,the Affidavit states:

       O n Decem ber24,2018,atapproxim ately 9:10 a.m .,Sunrise Police officers
       responded to an arm ed robbery at the Yard House restaurant at the
       SawgrassM ills M all,Iocated at2610 SawgrassM illsCircle,Sunrise,Florida.
       The investigation revealed thattwo black m ale suspects arrived in the m all
       parking Iotnearthe Yard House in a silverHyundaiElantra approxim ately
       one hourbefore the actualincidentoccurred.The carIeftand returned,and
       atapproximately9:00 a.m .,the Hyundaibacked into a parking space directly
       in frontofthe reardoorto Yard House nearthe dum psterarea. Thereafter,
       the two suspectsexited the vehicle,w alked towardsthe dum psterarea,and
       entered through the rear door of Yard House, as it was opened by
       (W ATVERLYJMORTIMER,aYard House employee.
       One suspect,Iateridentified as (ZYHEEM IAN)SMITH,was a heavierset
       black male with shod dreads tucked underneath a dark colored face m ask
       and wasarm ed witha tan colored Glock 19X style sem i-autom atic pistoland
       wasnotwearing gloves.The second suspect,Iateridentified as(GEDEON)
       JO SEPH,was a thin-builtblack m ale with shod dreads tucked underneath
       a skully cap and a c10th covering his face,wearing black and w hite Nike
       brand shoes,and black baseballstyle gloves.The robberywas recorded by
       Yard House security cam eras.

       Upon entering, SM ITH and JOSEPH went directly upstairs tow ards the
       m anager's office. O nce upstairs,SM ITH and JOSEPH encountered the
       managerwho wasstanding justoutside an office. SMITH brandished the
       G lock 19X,pointed itatthe m anager,andgrabbed the m anager's cellphone
       outofhis hand. SM ITH and JOSEPH then forced the m anageratgunpoint
       to open a safe and place bills and depositbags into a plastic bag. SM ITH
       told the m anagerto em pty the safe orhe would shootthe m anagerin the
       leg.Afterthe bag w as filled,SM ITH and JO SEPH exi ted through the sam e
       doorthey had entered,ran to the silverHyundaiElantra,and exited the m all
       parking lot,outofcam era view .The totalapproximate Ioss suffered byYard

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       Housewas$22,000.
       M ORTIM ER was interviewed bylaw enforcementatthe scene,and provided
       his cellphone num ber and a hom e address in W est Park, Florida.
       M O RTIM ER claimed he did not know the individuals w ho com m itted the
       robbery.

       Afterthe robbery,Iaw enforcem entfound the m anager's cellphone on the
       ground behind the Yard House. Subsequentanalysis revealed SM ITH'S
       fingerprints on the manager's cellphone.

       Law enforcem ent conducted a search of SM ITH'S public social m edia
       accounts and found an associated cellphone num ber for SM ITH. Toll
       records forSM ITH'S cellphone show thaton the m orning ofDecem ber24,
       2018,justpriortothe robbery,SMITH called MORTIMER'Scellphonethree
       tim es. Specifically,SM ITH placed a callto MO RTIM ER at 7:39 a.m .that
       Iasted for5 seconds,anothercallat7:40 a.m .thatlasted 3 seconds,and a
       third callat8:20 a.m .thatIasted 7 seconds. Tollrecords also show thatat
       approxim ately 5:50 a.m .on the m orning of Decem ber25,2018,SM ITH
       placed a callto MO RTIM ER thatIasted approxim ately 17 m inutes.

       Cellsite records forSM ITH'S phone show thatin the early m orning hours of
       Decem ber 24, 2018,the phone travelled from O rlando, to the area of
       M ORTIMER'S hom e inW estPark,and then to the vicinityofthe Yard House
       inSunrise,arriving atapproxim ately8:00 a.m .,where itrem ained untilshodly
       afterthe robbery,when ittravelled back to the O rlando area.

       Tollb00th photos were obtained from the Florida Departm ent of M otor
       Vehiclesm atching the known IocationsofSM ITH'Scellphone.Those photos
       revealeda silverHyundaiElantra,m atching the one used duringthe robbery,
       w ith a visible Iicense plate. A search ofthatIicense plate shows thatthe
       vehicle was rented from Unique CarRental,in the O rlando area.

       Accordinlg)to SMITH'SpublicFacebookprofiles,JOSEPH and MORTIMER
       are ''friends''with SM ITH, O nJanuary 16,2019,Iaw enforcem entobserved
       a photo on SM ITH'S Facebook page ofSM ITH,JO SEPH and MO RTIM ER,
       along with an unidentified persono thatwas posted on January 10,2019.
       The photo was rem oved from SM ITH'S Facebookpage Iateron January 16,
       2019.
       M ORTIM ER'S public socialm edia accounts show thathe has an Instagram
       handle of''W affles Clout''and a Facebook handle of'Zoe W aff.''




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       JO SEPH'S public Facebook profile shows that JO SEPH m atches the
       physicalappearance ofthe second suspectin the robbery. In addition,on
       his lnstagram account,JOSEPH posted severalpictures ofhim selfwearing
       the sam e distinct black and w hite Nike shoes seen in the Yard House
       security video.

       Recordsofchatsessionsfrom SM ITH'S FacebookM essengeraccountshow
       thaton Novem berz6,2018,SM ITH,JOSEPH,and M O RTIM ER padicipated
       in a chatsession in which SM ITH advised JOSEPH to ''save 20O so we can
       geta rentalto hitwaffles kick in the 23rd or24th.''Based on the contextand
       m y training and experience,Ibelieve thatSM ITH was advising JOSEPH to
       save $200 to pay fora rentalcar that could be used for a robbery of
       M O RTIM ER'S workplace on eitherDecem ber23 orDecem ber24,2018.

       Records of chatsessions from JOSEPH'S Facebook Messengeraccount
       show thatin m id-Decem ber 2018,JOSEPH and M O RTIM ER exchanged
       m essages regarding obtaining a rentalcarforpurposes ofa 'tlick,''a term
       which,based on the contextand m y training and experience,refers to a
       robbery .
       O n Decem ber 24, 2018, at approxim ately 8:19 a.m ., SM ITH sent
       M O RTIM ER a m essage telling M O RTIM ER dfwe here.'' Atapproxim ately
       8:28 a.m .,and MO RTIM ER told SM ITH that''The managerforthe safe aaint
       here yet.'' At approxim ately 9:00 a.m ., SM ITH sent a m essage to
       M O RTIM ER saying d$U gon open the door?'' M O RTIM ER responded d'Im
       com ing out at 9:07.'' At approxim ately 9:16 a.m ., M ORTIM ER sent a
       message to SM ITH thatsaid ''Throw the shids away.'

 AffidavitII!I3-16 (DE 1).
       Atthe hearing,the Governm entproffered thatJoseph had engaged in Facebook

 chats with Modim er,in which he asked Modimeraboutescape routes afterthe robbery.

 The G overnmentalso proffered thatvarious Facebook photographs depictJoseph in the

 possession ofweapons and am m unition.

       According to the Governm ent,ifconvicted attrial,Gedeon Joseph would face a

 Guidelinessentence of(approximately)57 to 71 months'imprisonmenton Counts 1 and
 2.ThatGuidelinessentencewouldthenbe followed bya consecutive 7-year(84-month)
 m andatory m inim um sentence on Count3. Therefore,ifconvicted ofaIlcounts,Gedeon
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 Joseph would face a prospective sentence of (approximately) 141 to 155 months'
 imprisonment. 18 U.S.C.j 3142(g)(2).
       3.     The pedinenthistory and characteristics ofthe defendantare significantto

 this Coud's assessmentofhis candidacy forbond.The defendant,Gedeon Joseph,age

 21,was born in M iam iand has been residing forthe past 14 years in CentralFlorida

 (Clermont). He does notpossess a passpod and has nevertraveled outside the United
 States.

       The defendantadvised thathe issingle and does nothave anychildren.He resides

 wi
  th his parents and four of his siblings in a hom e that his parents rent in Clerm ont

 (Florida). He reportedthathe hasadditionalsiblingsresiding inOrlando,Minnesota,and
 Texas.The defendantadvised thatforthe pastfourm onths he has been em ployed pad-

 time ata localgrocerystore,earning $800 permonth. Previously,he worked atvarious
 fastfood restaurants. He advised thathisonly assetis a 2006 Mazda valued at$4,000.
       The PretrialServices Reportshows thatthe defendanthas been arrested forthe

 following offenses:burglary of conveyance (2017),
                                                 .burglary ofconveyance/petittheft
 (2017),
       .and burglaryofconveyance (2017).The Repod shows thatallofthese charges
 were Iaterdropped. 18 U.S.C. j 3142(g)(3)(A)and (B).
       4.     The Courtreceived evidence concerning the nature and seriousness ofthe

 dangerto the com m unity thatw ould be posed by the defendant's release. Gedeon

 Joseph appears to have conspired to com m itthe arm ed robbery ofa restaurant. More

 specifically,Joseph com m unicated w ith Sm ith and with Modim erconcerning the rentalof

 the vehicle utilized in the armed robbery. Fudherm ore,he personally padicipated in the

 armed robbery.Along with Sm ith,who brandished the firearm and threatenedto shootthe

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 restaurant manager,Joseph helped force the m anagerto open a safe and hand over

 m oney and depositbags. 18 U.S.C. j 3142(g)(4).

       5.     The Coud specifically finds by a preponderance of the evidence that no

 condition orcom bination ofconditions ofrelease willreasonably assure the defendant's

 appearance attrial. 18 U.S.C.j 3142(e).
       6.     The Coud speci
                           fically finds by clear and convincing evidence that no

 condition orcom bination ofconditions ofrelease willreasonably assure the safety ofany

 otherperson and the comm unity.18 U.S.C.5 3142(e).
       STATEM ENT O F REASONS FO R DETENTIO N
       1.     Based upon the above findings offact,the Coud concludes thatthe release

 ofthisdefendanton bond priorto trialwould presentan unreasonable riskofflight.Joseph

 hasnotiesto South Florida and possessesm inimalassets.Moreover,the evidence ofhis

 guil
    t is considerable,and he would face an extrem ely severe sentence - 141 to 155

 m onths'im prisonm ent- upon conviction.

       2.     Based upon the above findings offact,the Coud concludes thatthe release

 ofthis defendanton bond priorto trialwould presentan unreasonable dangerto persons

 and to the com m unity. Gedeon Joseph appears to have conspired to com m itthe arm ed

 robbery of a restaurant. M ore specifically,Joseph com m unicated with Sm i
                                                                           th and with

 Modim erconcerning the rentalofthe vehicle utilized in the arm ed robbery. Furtherm ore,

 he personally padicipated in the arm ed robbery. Along with Sm ith,who brandished the

 firearm and threatened to shootthe restaurantm anager,Joseph helped force the manager

 to open a safe and hand over m oney and depositbags. Joseph's actions were both

 calculated and extrem ely dangerous.
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 D.    DISPOSITIO N

       Beingfullyadvised,the Coud herebyo RDERsthatthedefendant,GedeonJoseph,

 be detained priorto trialand untilthe conclusion thereof.

       The Coud fudherO RDERS:

              Thatthe defendantbe com m itted to the custody ofthe Attorney Generalfor

 confinem ent in a corrections facility separate,to the extentpracticable,from persons

 awaiting orserving sentences orbeing held in custody pending appeal'
                                                                    ,

              That the defendant be afforded reasonable oppodunity for private

 consul
      tation with counsel'
                         ,and

       3.     That,on orderofa coud ofthe United Statesoron requestofan attorneyfor

 the Governm ent,the person in charge ofthe correctionsfacility in which the defendantis

 confined deliver the defendant to a United States m arshalfor the purpose of an

 appearance in connection with a coud proceeding.

       DO NE AND O RDERED atFod Lauderdale,Florida this 6th day ofM arch 2019.




                                         BARR    . ELT ER
                                         UNITED S TES MAG STRATE JUDG E

 Copiesto:

 Hon.Ursula Ungaro
 United States DistrictJudge

 AIIcounselofrecord

 United States M arshal

 United States PretrialServices
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